
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-521-CR





MARIA LEONILA PEREZ	 						APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM CRIMINAL 
DISTRICT COURT NO. 4 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant's Motion To Withdraw Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f).

PER CURIAM

PANEL D:	MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: March 17, 2005

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




